
In re: City of Baton Rouge applying for Remedial Writs for Interpretation of LRS 32:661 (A).
Granted. (See Order.)
The petition of the relator in the above entitled and numbered case having been duly considerfed,
It is ordered that a writ of certiorari issue herein, directing the Honorable William Hawk Daniels, Judge of the City Court of Baton Rouge, for the Parish of East Baton Rouge, to transmit to the Supreme Court of Louisiana, on or before the 10th day of October, 1975, the record in duplicate, or a certified copy of the record in duplicate, of the proceedings complained of by the relator herein, to the end that the validity of said proceedings may be ascertained.
It is further ordered that the aforesaid Judge of said Court and the respondent through counsel shall show cause, in this court, on the 12th day of December, 1975, at 10 o’clock A.M., why the relief prayed for in the petition of the relator should not be granted.
